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                     EXHIBIT A
Heart 2 Heart Volunteers, Inc
Hourly Employee Name                                                            Salaried Employee Name
                                                      Gross Pay 3/7/2025                                                          Gross Pay 3/12/2025
Endly, Charlie C
                 No. 5:25-bk-00087
                        Supportive Therapist
                                             Doc 23-1                 Filed 03/04/25
                                                                             Weese, Sheila M
                                                                                             Entered 03/04/25        18:11:20 Page 2 of
                                                                                                     Medical Director, NP
                                                          $1,799.09                                                          $5,384.62
                                                                                   2
McClarren, Jaylynn M          Supportive Therapist        $1,719.59             Singer, Tara P           HR/In-house accountant     $1,923.08
Newhart, Brianna M            Therapist                   $1,702.08             Travis, Sharon M         CEO                        $3,000.00
Smith, Sade' M                Therapist                   $1,672.33
Winters, Andrea D             Therapist                   $1,778.09                                                                $10,307.70 Salaried pay
Basich, Elizabeth M           RN -PRN                      $529.38
Groh, Samantha K              Utilization Nurse           $3,744.00
Poplawski, Kimberly R         LPN - PT                    $2,068.38
Teasdale, Chriselda D         LPN                         $2,638.25
Bender, Bridgette J           Mental Health Tech          $1,513.19
Eagle, Seanna L               Mental Health Tech          $1,247.76
Kelley, Kristen E             Mental Health Tech          $1,652.69
Prohaska, Jeffrey P           Mental Health Tech          $1,216.88
Seibel, Destiny A             Mental Health Tech          $1,561.31
Selmon, Natasha N             Mental Health Tech          $1,670.13
Thomas, Lakin D               Mental Health Tech          $1,054.00
                              Peer Specialist/Sober
Harrison, Jacquetta L
                              House Mother                $2,847.50
Poole, Amari M                Case Manager                $1,787.18
Lanham, Ashley                Secretary                   $2,781.81
Forshey, Michelle M           Medical Biller              $1,840.00
Edwards, Jennifer E           Kitchen staff               $1,613.50
Keener, Jonel D               Kitchen Supervisor           $841.50
Musgrove, Jessica M           Kitchen Staff                $693.00
Powers, Jessica               Kitchen Staff                $798.00
Hendershot, Mary              Kichen Manager               $540.00
Quinn, Amanda M               Cleaning Supervisor         $1,249.69
Richardson, Rachel D          Cleaning Staff               $563.50
Shuman, Melissa R             Cleaning Staff               $647.50
Truax, Paula J                Cleaning Staff              $1,095.50
Blackburn, Michael D          Maintenance staff           $1,600.00
Duill, James R                Maintenance Director        $2,109.65
We our in the process of
hiring a Clinical Director,
Case manager, MHT
Supervisor, RN

Employees no longer
employed                                                 $48,575.48 Hourly Gross pay
                                                         $10,370.70 Salary Gross Pay
                                                          $3,643.27 Employer Social Security Tax
                                                           $852.04 Employer Medicare Tax
                                                          $1,940.62 Employer - WV SUI
                                                         $65,382.11
